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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                     Plaintiff,
        v.

 BERTELSMANN SE & CO. KGaA, PENGUIN
                                                      Civil Action No.: 1:21-cv-02886-FYP
 RANDOM HOUSE, LLC, VIACOMCBS, INC.
 and SIMON & SCHUSTER, INC.

                     Defendants.




                    MOTION FOR ADMISSION PRO HAC VICE OF
                            STEPHEN R. FISHBEIN
       Movant Ryan Shores, undersigned counsel (hereinafter, “Counsel”) for Defendants

ViacomCBS Inc. and Simon & Schuster, Inc., respectfully moves this Court, pursuant to

LCvR 83.2(d) of the Rules of the United States District Court for the District of Columbia,

for entry of the attached Order admitting Stephen R. Fishbein to appear pro hac vice as co-

counsel for ViacomCBS Inc. and Simon & Schuster, Inc. In support of this Motion,

Counsel states as follows:

       1. Counsel is a member in good standing of the Bar of this Court and is licensed

to practice in the District of Columbia (DC Bar No. 500031).

       2. Mr. Fishbein is a member in good standing of the bar of the state of New York

(NY Bar No. 2200129) and is licensed to practice in the state of New York.

       3. Mr. Fishbein is a partner with the law firm of Shearman & Sterling LLP, 599

Lexington Avenue, New York, NY 10022.




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        4. Attached hereto is the Declaration of Stephen R. Fishbein in accordance with

LCvR 83.2.

       5. Stephen R. Fishbein will abide by the Civil Rules of the United States District

Court for the District of Columbia and other rules of this Court.

       This Motion and the attached Declaration meet all the requirements of the Civil

Rules of the United States District Court for the District of Columbia including LCvR 83.

       WHEREFORE, for the foregoing reasons, on behalf of Defendants ViacomCBS

Inc. and Simon & Schuster, Inc., Counsel respectfully requests that the Court enter the

attached order.

 Dated: November 8, 2021                       Respectfully submitted,

                                               /s/ Ryan Shores
                                               Ryan Shores (DC Bar No. 500031)
                                               SHEARMAN & STERLING LLP
                                               401 9th Street, N.W., Suite 800
                                               Washington, DC 20004
                                               Telephone: (202) 508-8108
                                               Fax: (202) 661-7480
                                               Email: Ryan.shores@shearman.com

                                               Counsel for Defendants ViacomCBS Inc. and
                                               Simon & Schuster, Inc.




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